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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NEW YORK

_______________________________________

UNITED STATES OF AMERICA,

vs.
                                                      DECISION AND ORDER
MELVIN LYTTLE,                                        05-CR-6116

                Defendant.
________________________________________



                                    INTRODUCTION

      This matter is presently before the Court for a determination of the defendant’s

competency to proceed to trial. For the reasons stated below, the Court finds that the

defendant is competent to stand trial.


                   PROCEDURAL AND FACTUAL BACKGROUND


A.    September 29, 2005 to August 28, 2005

      On September 29, 2005, the defendant was arraigned on a multi-count indictment

charging him, along with three co-defendants, with conspiracy to commit mail and wire

fraud, conspiracy to commit money laundering, and substantive acts of mail fraud, wire

fraud, and money laundering in connection with a high yield investment scheme. He

appeared at arraignment with his court appointed attorney, Fred S. Gallina, Esq. Based

upon his Pre-trial Services Report, he was released from custody. Under the heading of

Health, the report, dated September 29, 2005, read:

      Melvin Lyttle suffers from the following medical conditions as documented by
      Dr. Michael Dragan: Anxiety Disorder, Coronary Artery Disease with Heart
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       Catheterization twice and coronary angiography, Irritable Bowel Syndrome
       from Diverticulitis severe hypertension, lumbar disc disease and Type-2
       Diabetes.

       Current medications include: Lotrel, Diovan HCT, Lexapro, Lipitor,
       Nitroglycerin, as needed. It should be noted that Mr. Lyttle is prone to anginal
       chest pains especially with elevated blood pressure and stress.

       In a letter application dated January 5, 2006, that was not docketed, Mr. Gallina

sought to have home confinement with electronic monitoring removed as a condition of the

defendant’s release. In support of his request, Mr. Gallina included a five page letter from

the defendant dated December 27, 2005, which the Court has annexed as

Addendum #1 to this decision.

       By notice of motion (Docket # 33), filed on October 19, 2006, Mr. Galina sought to

withdraw as the defendant’s counsel. In his sealed affidavit (Docket # 34) in support of his

application (which the Court now unseals), Mr. Galina stated:

       5.     That your deponent has attempted to communicate the importance of
              considering a possible plea to resolve the matter before the Court;
              however the Defendant refuses to even consider the appropriateness
              of this course of action.

       6.     That your deponent has met with resistance to these discussions is
              an understatement. The Defendant continues to believe that there
              may be some intervention by foreign government officials on his
              behalf and that your deponent has lost his ability to appreciate the
              Defendant’s position on various matters.

       7.     That your deponent verily believes that it is difficult, if not impossible,
              to represent the Defendant properly under the circumstances and that
              Defendant would be better served with another attorney who could
              establish some rapport and professional trust needed to go forward
              in this matter.

       On October 24, 2006, the Court granted Mr. Gallina’s motion to withdraw and

appointed Christopher S. Ciaccio, Esq., the defendant’s current counsel, to represent him.


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On March 1, 2007, Mr. Ciaccio filed his omnibus motion on the defendant’s behalf (Docket

# 55 ), which was argued before the Court on April 23, 2007. On May 11, 2007, the Court

filed a Pre-trial order (Docket # 75) , setting October 15, 2007 as the date on which the jury

trial was to commence. However, on October 1, 2007, the Court received a letter, dated

September 27, 2007, from the defendant’s primary care physician, Michael K. Dragan,

M.D., indicating that the defendant had been referred to Barry Dick, M.D., a vascular

surgeon, to correct a 100% blockage in his right external artery. As a result, it was

necessary to adjourn the October 15, 2007, trial date. Dr. Dick in fact operated on the

defendant on October 18, 2007.

       Following his surgery, the defendant filed a pro se application captioned an

“Emergency Motion,” along with a supporting affidavit (Docket # 132), in which he sought

to have Mr. Ciaccio replaced as his counsel. His supporting affidavit consisted of nine

pages, along with an attached exhibit consisting of e-mail communications. Mr. Ciaccio

submitted an affidavit in response (Docket # 134). The Court scheduled a court

appearance on September 10, 2008, at which time the defendant’s application was

discussed. The next day, September 11, 2008, the Court held an in camera proceeding,

concerning the motion, with the defendant and Mr. Ciaccio, which was taken down by a

court reporter and sealed (Docket #141). Based upon the papers and proceedings, the

Court denied the defendant’s application.

       For reasons unrelated to the pending application, the trial was further adjourned,

and subsequently by Pre-trial order (Docket # 201) filed on June 9, 2008, was scheduled

to begin on September 8, 2008.



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       On May 21, 2008, Mr. Ciaccio filed a notice of motion seeking to modify the

conditions of the defendant’s release (Docket # 194). Mr. Ciaccio’s supporting affirmation

(Docket # 195) attached, as Exhibit C, a three page letter from the defendant.

       On August 5, 2008, the defendant filed his second pro se “Emergency Motion”

requesting the appointment of new counsel (Docket # 222). In his six page affidavit,

supported by three exhibits, the defendant detailed the basis for his application. At a court

appearance on August 6, 2008, that had been scheduled concerning unrelated matters,

the Court heard from Mr. Lyttle and Mr. Ciaccio, and after doing so, denied the application.

B.     August 29, 2008 to Present

       By notice of motion filed on August 29, 2008 (Docket # 231), Mr. Ciaccio, on behalf

of the Defendant, filed a motion for an order granting a hearing to determine the mental

competency of the Defendant. In his affirmation in support of his application, Mr. Ciaccio

stated:

       4. As set forth in the attached medical reports, Mr. Lyttle has a condition in
       his brain that was identified in a May 21, 2008 MRI as a “ring-enhancing
       lesion with a hypodense center with surrounding edema in the deep posterior
       lobe.” A second MRI showed the lesion to be a “demyelinating process, a
       process which could destroy or damage the nerves.”

       5. The report of Dr. Otte dated August 29, 2008 also states that the MRI
       tests were necessitated by Mr. Lyttle’s complaints of dizziness, headaches,
       difficulty walking, etc., suggesting, although it is not spelled out, that the
       lesion could be the cause of the symptoms. Mr. Lyttle’s weakness in the right
       side of his body is “obvious.”

       6. Mr. Lyttle also informs me that he is having problems with short and long
       term memory, being unable to remember conversations, names of persons,
       dates, etc.

       7. Accordingly, Mr. Lyttle's condition, although related to a physical finding,
       constitutes a mental defect rendering him mentally incompetent to the extent
       that he is unable to assist properly in his defense. At the present time, due

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       to his headaches and dizziness, he is unable to speak about the substantive
       defense issues. I doubt he will be able to participate in a meaningful fashion
       with jury selection, cross-examination, or any
       other aspect of the trial.

       8. Moreover, the trial may interfere with his need for immediate tests and
       treatment.

       9. I am also concerned that for whatever reason Mr. Lyttle’s thought
       processes lack a rational foundation, thus making it difficult for him to
       participate in his defense.

       11. Accordingly, request is made for an examination and hearing to
       determine the mental competency of this defendant to assist properly in his
       defense.

       As a result of Mr. Ciaccio’s application and the issues it raised concerning both the

defendant’s mental and physical ability to proceed to trial, the starting date for the trial was

postponed one week to September 15, 2008. At a court appearance on September 12,

2008, the Government made an oral motion to sever the defendant from his three co-

defendants, which the Court granted.

       In regard to the defendant’s ability to proceed to trial, the Court received letters

dated September 3, 2008, October 13, 2008, October 15, 2008, November 11, 2008, and

November 20, 2008, from Ty Brown, M.D., the defendant’s treating neurologist. Copies of

these letters are attached to this decision as Addendum # 2.

       Based upon Dr. Brown’s October 15, 2008, correspondence, the Court authorized

Mr. Ciaccio’s request for a neuropsychological examination of the defendant by Thomas

Sullivan, Ph.D. In a report dated November 13, 2008, Dr. Sullivan stated:

       1. The lesions found on Mr. Lyttle’s brain have not caused a significant
       deterioration in his mental functioning. His intelligence, attention, memory,
       and language skills are sufficient for him to understand courtroom
       proceedings, and participate in his defense.


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       2. Mr. Lyttle has a delusional disorder.

       3. Because of his Delusional Disorder, Mr. Lyttle is not capable of
       participating in his own defense. Because of his mental illness, he cannot
       adequately discern fact from fantasy. In addition, Mr. Lyttle’s Delusional
       Disorder appears to be interfering with his ability to trust his defense counsel
       and interact with counsel sufficiently to defend himself.

       4. Physicians have indicated that Mr. Lyttle is not able to travel at this time
       because of his medical problems. Such a determination is beyond the
       expertise of a neuropsychologist such as myself.

       In addition to the neuropsychological examination by Dr. Sullivan, the defendant, as

reflected in Dr. Brown‘s November 20, 2008, correspondence, was referred to Istvan

Pirko, M.D., a neurologist, specializing in demyelinating disorders. Dr. Pirko diagnosed the

Defendant as suffering from multiple sclerosis. In a report dated December 22, 2008, Dr.

Pirko observed, “[g]iven the time of lesion development and the history, the most likely

explanation is tumeactive presentation of MS.” In that same correspondence, Dr. Pirko

wrote, “ [i]t appears the legal system tries to label him as delusional, and of note there was

absolutely nothing during my 90 minute encounter with him that would make me think that

he is delusional.” In a subsequent report dated February 9, 2009, Dr. Pirko assessed the

defendant as “57 year old man with newly diagnosed MS.”

       In response to the opinions of the Defendant’s treating physicians, Dr. Brown and

Dr. Pirko, and his retained expert, Dr. Sullivan, the Court granted the Government’s request

that the defendant submit to a medical and psychological examination at the Lexington,

Kentucky Federal Medical Center (Docket # 314). In a report dated, April 24, 2009,

prepared by Judith (Betsy) Campbell, Ph.D., Forensic Psychologist, and reviewed by

Michael Helvey, Ph.D., Chief Psychologist, Dr. Campbell reached the following diagnostic

impressions:

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       Axis I: 309.24        Adjustment Disorder, Chronic, with Anxiety
               V65.2         Malingering

       Axis II: 301.9        Personality Disorder Not Otherwise Specified, with
                             Antisocial, Histrionic, Paranoid, and Narcissistic
                             Features

She concluded :

       In summary, a finding of competency to stand trial requires the defendant to
       have a factual and rational understanding of the proceedings against him
       and sufficient ability to consult with his attorney with a reasonable degree of
       rational understanding. While Mr. Lyttle attempted to portray himself as
       neurologically impaired and unable to remember and concentrate, the
       information gathered over the course of the evaluation, in the opinion of the
       undersigned, examiner, supports a finding that Mr. Lyttle is mentally
       competent to stand trial

Significantly, at the request of his treating neurologist, Dr. Pirko, the defendant was

examined by another neuropsychologist, Daniel Gripshover, Ph. D. In his report issued on

or about May 22, 2009,1 Dr. Gripshover concluded:


       Previous evaluations have raised the question of a delusional disorder. The
       patient adamantly denied delusional thoughts and provided documents in
       support of his beliefs and assertions. Furthermore, his wife indicated that she
       has never observed him to have psychotic thoughts or behaviors, and also
       described realty based events that supported the patient’s belief system.
       Pending additional data, I do not find sufficient evidence of a psychotic
       thought disorder at this time.

       Pursuant to Mr. Ciaccio’s application (Docket # 231), the Court held a competency

hearing on September 3 and 4, 2008. At the outset of the hearing, Mr. Ciaccio clarified that

the defendant was no longer challenging his physical ability to stand trial. Two witnesses

testified at the hearing: Dr. Sullivan for the defense and Dr. Campbell for the Government.



       1
       While Dr. Gripshover’s report is not dated, according to a letter he wrote to Mr. Ciaccio
dated April 22, 2009, he expected his report to be completed by May 22, 2009.

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The defendant and the Government stipulated into evidence the November 13, 2008,

report of Dr. Sullivan (Exhibit A), the April 24, 2009, report of Dr. Campbell (Exhibit # 2),

as well as the curriculum vitae of both psychologists (Exhibit B and # 1, respectively.

Additionally, based upon a telephone conference the Court held with Mr. Ciaccio and

Assistant United States Attorney Bradley Tyler on July 27, 2009, the Government and the

defendant agreed to stipulate into evidence the report of Dr. Gripshover, which the Court

has received as Court Exhibit # 1. Significantly, Dr. Sullivan and Dr. Campbell each utilized

a psychological test called the Minnesota Multiphasic Personality Inventory-2 (“MMPI-2”)

and each indicated that the defendant received an elevated score based upon his

responses to the validity scales. Both further acknowledged that one possible explanation

for such elevated score was malingering or exaggeration of symptoms. However, while Dr.

Campbell concluded based upon her overall assessment that the Defendant was in fact

malingering, Dr. Sullivan, although considering this possibility, ruled it out in reaching his

opinion.

       At the conclusion of the hearing, the Court gave the defendant and the Government

until June 30, 2009, to submit a post-hearing memorandum of law. On June 30, 2009, the

Government filed its submission. However, by letter dated June 30, 2009, Mr. Ciaccio, on

behalf of the defendant, in pertinent part, wrote:

       I am not making a submission with regard to the outcome of the competency
       hearing because my client has asked me to move to withdraw any opposition
       to the Government’s effort to have him declared competent.




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                                    Standards of Law

A.     The Statute and Legal Test

In pertinent part, 18 U.S.C. § 4241 states:

       Determination of mental competency to stand trial

       (a) Motion to determine competency of defendant.–At any time after the
       commencement of a prosecution for an offense and prior to the sentencing
       of the defendant, the defendant or the attorney for the Government may file
       a motion for a hearing to determine the mental competency of the defendant.
       The court shall grant the motion, or shall order such a hearing on its own
       motion, if there is reasonable cause to believe that the defendant may
       presently be suffering from a mental disease or defect rendering him
       mentally incompetent to the extent that he is unable to understand the nature
       and consequences of the proceedings against him or to assist properly in his
       defense.

       (b) Psychiatric or psychological examination and report.– Prior to the date of
       the hearing, the court may order that a psychiatric or psychological
       examination of the defendant be conducted, and that a psychiatric or
       psychological report be filed with the court, pursuant to the provisions of
       section 4247 (b) and (c).

       (c) Hearing.–The hearing shall be conducted pursuant to the provisions of
       section 4247(d).

       (d) Determination and disposition.–If, after the hearing, the court finds by a
       preponderance of the evidence that the defendant is presently suffering from
       a mental disease or defect rendering him mentally incompetent to the extent
       that he is unable to understand the nature and consequences of the
       proceedings against him or to assist properly in his defense, the court shall
       commit the defendant to the custody of the Attorney General.

The legal test of a defendant's competency to stand trial is found in Dusky v. United States,

362 U.S. 402 (1960):

       [W]hether he has sufficient present ability to consult with his lawyer with a
       reasonable degree of rational understanding and whether he has a rational
       as well as factual understanding of the proceedings.

Id.


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B.     Burden of Proof

       The issue arises as to whether the Government bears the burden of establishing

competency, or the defendant bears the burden of establishing incompetency. The relevant

statute, 18 U.S.C. § 4241, is silent on this point, indicating only that the Court must find

by a preponderance of the evidence that the defendant is incompetent to stand trial. The

legislative history is also silent. Finally, this Circuit, although acknowledging that “[t]he

federal statute providing for competency hearings does not allocate the burden of proof,

and neither the Supreme Court nor this Court has decided as a matter of statutory

construction whether the government or defendant bears the burden,” declined to decide

the issue. United States v. Nichols, 56 F.3d 403, 410 (2d Cir. 1995). The Supreme Court,

however, commented on this issue in dicta in Cooper v. Oklahoma, 517 U.S. 348 (1996):

       Indeed, a number of States place no burden on the defendant at all, but
       rather require the prosecutor to prove the defendant's competence to stand
       trial once a question about competency has been credibly raised. The
       situation is no different in federal court. Congress has directed that the
       accused in a federal prosecution must prove incompetence by a
       preponderance of the evidence. 18 U.S.C. § 4241.

Id. at 361-362. Following, Cooper, the Eastern District of New York concluded, “[r]ecently,

however, the Supreme Court provided guidance, explaining, albeit in dicta, that under

Section 4241 it is the accused who must prove incompetence.” United Stated v. Gigante,

996 F. Supp. 194, 199 (E.D.N.Y.,1998). In reaching its conclusion, the Eastern District

relied on United States v. Morgano, 39 F.3d 1358, 1373 (7th Cir.1994), cert. denied, 515

U.S. 1133, (1995), where the Seventh Circuit stated “[t]he starting point ... is the notion

that a criminal defendant is presumed to be competent to stand trial and bears the burden

of proving otherwise.” Id. at 1373. This Court agrees with Gigante. However, the Court


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further notes that even if the burden of proof was allocated to the Government instead of

to the defendant, the evidence presented to the Court, as discussed below, conclusively

establishes the defendant's competence to stand trial.         Accordingly, whether the

Government or the defendant bears the burden would not change the Court's conclusion.

In that regard, the Supreme Court has explained, “the allocation of the burden of proof to

the defendant will affect competency determinations only in a narrow class of cases where

the evidence is in equipoise; that is, where the evidence that a defendant is competent is

just as strong as the evidence that he is incompetent.” Medina v. California, 505 U.S. 437,

449 (1992) (interpreting California state law).

C.     Factors

       “In making a determination of competency, the district court may rely on a number

of factors, including medical opinion and the court's observation of the defendant's

comportment.” United States v. Nichols, 56 F.3d at 411 (citation omitted); see also United

States. v. Quintieri, 306 F.3d 1217, 1233 (2d Cir. 2002) (“A district court must consider

many factors when determining whether it has “reasonable cause” to order a competency

hearing. Id. The district court's own observations of the defendant's demeanor during the

proceeding are relevant to the court's determination....”).

                                        ANALYSIS

       As clarified by the Defendant and the Government at the competency hearing, both

agree that the defendant has a rational as well as factual understanding of the

proceedings. Dusky v. U.S., 362 U.S. at 402. Consequently, the only issue for the Court

to resolve is whether he has sufficient present ability to consult with his lawyer with a



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reasonable degree of rational understanding. Id.

       In resolving the question of the defendant’s competency, the Court first considers

its own observations. At the outset, the Court observes that it was not until August 29,

2008, almost three years after he first appeared before the Court, that the defendant’s

competency was challenged. While the defendant may have been a difficult client with

respect to his refusal to consider a plea agreement and his commitment to his own

particular strategy of defense–as evidenced in Mr. Gallina’s affidavit in support of his

application to withdraw–this does not mean that he lacks the ability to assist his attorney.

Although the Pre-trial Services Report, dated September 29, 2005, indicated that the

defendant suffered from anxiety disorder, Mr. Gallina, a very experienced criminal defense

attorney, never requested a competency determination during the approximately thirteen

months that he represented the defendant, and Mr. Ciaccio, an equally experienced

criminal defense attorney, never requested a competency determination until August 29,

2008, some twenty-two months after he began his representation of the defendant. Beyond

this fact, the Court had the chance to interact with the defendant during court appearances

and more extensively in the in camera proceeding on September 11, 2007. The defendant

always appeared to the Court to be intelligent, oriented in time and place, and very aware

of the facts and circumstances related to his case. He responded to the questions that

were put to him in a coherent fashion. Additionally, the defendant’s own submissions to the

Court, his two motions to change counsel and the two letters he submitted in support of

first Mr. Gallina’s and then Mr. Ciaccio’s request to modify the conditions of his release,

evidence his ability to “to consult with his lawyer with a reasonable degree of rational

understanding.” Id.

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       Turning to the competency hearing, the Court finds the opinions expressed by Dr.

Campbell and her ultimate conclusion that the defendant is competent to stand trial more

convincing for several reasons. As evidenced by their curriculum vitae, both Dr. Sullivan

and Dr. Campbell have impressive qualifications. However, while Dr. Sullivan observed the

defendant for seven hours on November 6, 2008, in a solely clinical environment, Dr.

Sullivan supervised a forty-five day inpatient examination of the defendant, during which

she had the opportunity to observe him in a non-clinical setting. Moreover, although Mr.

Ciaccio’s affirmation in support of his motion for a competency hearing suggested

organic deficits as a basis for incompetency, both Dr. Sullivan and Dr. Campbell agree that

the defendant does not suffer from any physical condition that would impair his

competency. Additionally, Dr. Sullivan, in contrast to Dr. Campbell, dismissed the

observations of the defendant’s wife, Susan Lyttle, who reported that her husband acted

in a normal manner and that she had never observed the defendant experiencing

delusions. In this regard, the Court agrees with Dr. Sullivan, and finds that it would be

unusual to spend twenty-four hours a day with a person purportedly suffering from

delusions and never observe any irrational or abnormal behavior whatsoever.

       Next, the Court accepts Dr. Campbell’s analysis of the defendant’s elevated score

on the F-scale of the MMPI-2 psychological test as more persuasive than that of Dr.

Sullivan’s. Dr. Campbell concluded that such elevated score was consistent with an

attempt to manipulate the test. Dr. Sullivan, on the other hand, concluded that the elevated

score could better be explained as indicative of a delusional disorder rather than

malingering. In placing more credence in Dr. Campbell’s opinion, the Court considers the

timing of the defendant’s request for a competency hearing, less than two weeks before

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the scheduled trial, as well as Dr. Sullivan’s own suggestion that the defendant was

exaggerating his symptoms. As to the latter, Dr. Sullivan, on page 10 of his report under

the heading of Memory, wrote: “Mr. Lyttle complained vociferously about his memory

functioning. However, his performance on standardized tests of memory was consistently

good.”

         Furthermore, in reaching her determination of the defendant’s competency, Dr.

Campbell spoke by telephone, in the defendant’s presence, with Boris Parad, the attorney

who represented the defendant in a related civil proceeding before the Securities and

Exchange Commission. In regard to this conversation, there was no indication that the

defendant had any trouble working with Mr. Parad. On the other hand, the defendant told

Dr. Campbell that he did not respect Mr. Ciaccio and wanted someone else to represent

him. While the defendant may be unhappy with Mr. Ciaccio, his apparent ability to work

with Mr. Parad suggests that he is able, if he so chooses, to consult with Mr. Ciaccio with

a reasonable degree of rational understanding.

          Finally, the defendant’s own treating neurologist, Dr. Pirko, and the

neuropsychologist to whom he referred the defendant, disagree with Dr. Sullivan’s

conclusion that the defendant has a delusional disorder. In his December 22, 2008, report,

issued more than a month after Dr. Sullivan’s, Dr. Pirko indicated that there was nothing

in his examination of the defendant that led him to believe that the defendant was

delusional. Likewise, in his report issued approximately six months after Dr. Sullivan’s, Dr.

Gripshover, stated “I do not find sufficient evidence of a psychotic thought disorder at this

time.”



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                                     CONCLUSION

      Accordingly, the Court finds by a preponderance of the evidence that the defendant

is not “presently suffering from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand the nature and consequences

of the proceedings against him or to assist properly in his defense.” 18 U.S.C. § 4241(d).

It is So Ordered.

DATED:       Rochester, New York
             July 31, 2009
                                         ENTER.



                                         /s/ Charles J. Siragusa
                                         CHARLES J. SIRAGUSA
                                         United States District Judge




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